OPINION — AG — ** APPROVAL OF CONTRACTS ** ONCE THE DEPARTMENT AND CONSULTANT REACH AN AGREEMENT ON THE SCOPE AND FEE OF THE PARTICULAR PROJECT, THEN THIS IS SENT TO THE BOARD OF PUBLIC AFFAIRS FOR SAID BOARD TO APPROVE THE CONTRACT WITH THE CONSULTANT. THE APPROVAL OF THIS CONTRACT IS NOT A DISCRETIONARY ON THE PART OF THE BOARD OF PUBLIC AFFAIRS, BUT INSTEAD IS A MINISTERIAL FUNCTION. THE ONLY GROUND FOR REFUSING TO APPROVE THE CONTRACT WOULD BE THE FAILURE OF THE DEPARTMENT TO FOLLOW THE REQUIRED PROCEDURE. IN THE EVENT THE DEPARTMENT OF THE CONSULTANT CANNOT REACH AN AGREEMENT, THEN THE NEGOTIATIONS SHOULD BE TERMINATED, AND UPON A REQUEST TO THE BOARD OF PUBLIC AFFAIRS FOR AUTHORIZATION TO BEGIN NEGOTIATIONS WITH THE SECOND CHOICE, THE BOARD OF PUBLIC AFFAIRS IS TO AUTHORIZE THE DEPARTMENT TO BEGIN NEGOTIATIONS UNLESS THE DEPARTMENT HAS FAILED TO FOLLOWED THE REQUIRED PROCEDURES. THERE IS NOTHING IN 61 O.S. 1971 62 [61-62](G) THAT GIVES THE GOVERNOR THE EXPRESS AUTHORITY TO APPROVE OR DISAPPROVE THE SELECTION OF THE CONSULTANT OR TO APPROVE OR DISAPPROVE THE AGREEMENT ENTERED INTO WITH THE CONSULTANT. THIS SECTION LIMITS THE GOVERNOR'S AUTHORITY TO THAT OF REVIEWING THE ENTIRE PROCESS. CITE: 61 O.S. 1974 Supp., 61 [61-61], 61 O.S. 1974 Supp., 64 [61-64], 61 O.S. 1974 Supp., 62 [61-62](H) (TODD MARKUM)